         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3027
                   LT Case No. 2021-CF-1327
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SANTOS PEREZ HERNANDEZ,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On Appeal from the Circuit Court for Putnam County.
Alicia R. Washington, Judge.

William Mallory Kent and Ryan Edward McFarland, of Kent &amp;
McFarland Attorneys at Law, Jacksonville, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Marissa V.
Giles, Assistant Attorney General, Daytona Beach, for Appellee.

                        August 27, 2024


PER CURIAM.

    AFFIRMED.

EDWARDS, C.J., and LAMBERT and JAY, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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